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                      IN THE UNITED STATES DISTRICT COURT FOR
                          THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )            CR NO. 2:17CR33-MHT
                                                 )                 (WO)
WILLIAM EDWARD ROBINSON                          )

                              ORDER ON ARRAIGNMENT
       On March 28, 2017 the defendant, William Edward Robinson, appeared in person and
in open court with counsel, Cecilia Vaca and was arraigned in accordance with the provisions of
Rule 10 of the Federal Rules of Criminal Procedure.

        PLEA. The defendant entered a plea of NOT GUILTY. Counsel for the defendant is
requested to contact the U.S. Attorney immediately if the defendant intends to engage in plea
negotiations. If the defendant decides to change this plea, the parties shall file a notice of intent
to plead guilty or otherwise notify the clerk’s office at or before the pretrial conference and then
this action will be set on a plea docket.

       PRELIMINARY SENTENCING GUIDELINES INFORMATION. The court no
longer requires the United States Probation Office to provide preliminary sentencing guideline
information to defendants. However, in difficult or complex cases defendants may request the
United States Probation Office to provide Sentencing Guideline calculation assistance with the
understanding that any estimate is tentative only and is not binding on the United States
Probation Office, the parties or the court. The court expects that requests for Sentencing
Guideline calculation assistance shall be the exception and that defendants will not make such
requests a matter of routine. A request for Sentencing Guideline calculation assistance shall be
made to the United States Probation Office not later than 10 days from the date of this order.

        PRETRIAL CONFERENCE. An initial pretrial conference is hereby set for May
31, 2017 at 9:30 a.m., Courtroom 5A, before Chief United States Magistrate Judge Wallace
Capel, Jr., United States Courthouse, One Church Street, Montgomery, Alabama. Not later
than three (3) days prior to the date of the pretrial conference, counsel shall confer about
the issues and matters to be discussed at the pretrial conference as set forth in this order.
Counsel who want in-custody defendants to attend must notify the Magistrate Judge within three
days of the conference date so that an order to produce can be issued to the United States
Marshal.

       At the pretrial conference defense counsel and counsel for the government shall be fully
prepared to discuss all pending motions, the status of discovery, possible stipulations, and the
estimated length of the trial. The defense counsel and counsel for the government shall be fully
prepared to provide a definite commitment as to the final disposition of this case - by trial, plea
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or other non-trial disposition. If resolution of a dispositive motion will affect the nature of this
commitment, counsel must be fully prepared to discuss this type of resolution. If the case is for
plea, the notice of intent to enter a plea should be filed at the time of the pretrial conference. If
counsel require additional time for plea negotiations, counsel should be prepared to inform the
court about the date when those negotiations will be completed.

      TRIAL. This case is set for trial before Senior United States District Judge Myron H.
Thompson on the trial term beginning on September 5, 2017, at 10:00 a.m., in Montgomery,
Alabama, unless otherwise ordered by the court.

         In setting this case for trial on the term indicated above, the court recognizes that the
Speedy Trial Act places limits on the court’s discretion, and that under the act, the trial of a
defendant must commence within 70 days of the date of the indictment or the date of the
defendant’s first appearance before a judicial officer, whichever is later. 18 U.S.C. § 3161(c)(1).
In determining whether a case should be set after the expiration of the 70 day period, a court
must consider among other factors “[w]hether the failure to [set the case at a later date] . . .
would be likely to . . . result in a miscarriage of justice.” 18 U.S.C. § 3161(h)(7)(B)(I). The
court also must consider “whether the failure to grant such a continuance . . . would deny counsel
for the defendant or the attorney for the government the reasonable time necessary for effective
preparation, taking into account the exercise of due diligence.” 18 U.S.C. § 3161(h)(7)(B)(iv).
Based on the nature of this case and the charges, the parties’ need for adequate time for
discovery and the need for counsel to have adequate time for trial preparation, the court finds
that the ends of justice served by setting this case on this trial term outweigh the best interest of
the public and the defendant in a speedy trial. Any requested voir dire questions and jury
instructions must be filed no later than one week before jury selection.

        PRETRIAL MOTIONS. All pretrial motions under Fed.R.Crim.P. 12(b) and (d), 14
and 16, all notices under Fed.R.Crim.P. 12.1, 12.2 and 12.3, and any motion to compel pursuant
to M.D. Ala. LCrR 16.1 Criminal Discovery (a copy of this Rule may be found at
http://www.almd.uscourts.gov/forms/almd-local-rules) must be filed no later than TWO
WEEKS FROM THE DATE OF THIS ORDER. No motion filed after this date will be
considered unless filed with leave of court. Unless otherwise ordered by the court, the
continuance of the trial of a case will not extend the time for filing pretrial motions. THE
CONFERENCING REQUIREMENT SET FORTH IN M.D. Ala. LCrR 16.1(c)
CRIMINAL DISCOVERY SHALL BE MET BEFORE THE COURT WILL CONSIDER
ANY DISCOVERY MOTION. THE COURT WILL NOT GRANT MOTIONS TO
ADOPT MOTIONS FILED BY OTHER DEFENDANTS.

        Motions to suppress must allege specific facts which, if proven, would provide a basis of
relief. This court will summarily dismiss suppression motions which are supported only by
general or conclusory assertions founded on mere suspicion or conjecture. All grounds upon
which the defendant relies must be specifically stated in the motion in separately numbered
paragraphs in a section of the motion which is labeled "Issues Presented.". Grounds not
stated in the "Issues Presented" section of the motion will be deemed to have been waived.
See generally United States v. Richardson, 764 F.2d 1514,1526-27 (11th Cir. 1985).
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       The government shall file a response to all motions filed by the defendant on or before
five days prior to the date set for a hearing on the motion or, if no hearing is necessary, on
or before ten (10) days after the date of the pretrial conference.

        DISCOVERY. All discovery in this action shall be conducted according to the
requirements of M.D. Ala. LCrR 16.1 Criminal Discovery. Unless the government provided
initial disclosures to defendant prior to or at arraignment, the government is ORDERED to
tender initial disclosures to the defendant on or before March 28, 2017. Disclosures by the
defendant, as required by M.D. Ala. LCrR 16.1(a)(4) shall be provided on or before April 4,
2017.

        JENCKS ACT STATEMENTS. The government agrees to provide defense counsel
with all Jencks Act statements no later than the day scheduled for the commencement of the
trial.1

        MANDATORY APPEARANCE OF COUNSEL. Counsel of record for all parties are
ORDERED to appear at all future court proceedings in this criminal case. Those attorneys who
find it impossible to be in attendance (especially at the pretrial conference, jury selection, or
trial) must make arrangements to have substitute counsel appear on behalf of their clients. Any
attorney who appears as substitute counsel for a defendant shall have full authorization from the
defendant to act on his or her behalf and be fully prepared to proceed. Substitute counsel shall
not be counsel for a co-defendant unless permitted by the court after proper motion. Any
counsel who wishes to have substitute counsel appear must obtain permission of the court in
advance.

       NOTE: Except in extraordinary circumstances or circumstances in which the
Constitution would require it, the court will not entertain motions to withdraw filed by
counsel who appear at arraignment unless the motions are filed within seven days of the
date of this order. Failure to obtain fees from a client is not an extraordinary
circumstance.

          Done this the 29th day of March, 2017.


                                       /s/Charles S. Coody
                                  CHARLES S. COODY
                                  UNITED STATES MAGISTRATE JUDGE




1
    In certain complex cases, the government may agree to earlier production.
